Case 1:20-cv-00984-RJJ-SJB ECF No. 65, PageID.598 Filed 08/26/21 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 XAVIER MUNOZ,

          Plaintiff,                            Case No. 1:20−cv−984

    v.                                          Hon. Robert J. Jonker

 PHILIP STRONG, et al.,

          Defendants.
                                         /



                            NOTICE OF HEARING


TAKE NOTICE that a hearing has been rescheduled as set forth below:

 Type of hearing(s):    Early Settlement Conference
                        September 16, 2021 01:00 PM
 Date/Time:             (previously set for same date at 2 PM)
 Magistrate Judge:      Sally J. Berens
 Place/Location:        664 Federal Building, Grand Rapids, MI


                                             SALLY J. BERENS
                                             U.S. Magistrate Judge

 Dated: August 26, 2021            By:        /s/ Jenny Norton
                                             Courtroom Deputy
